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                      ATTACHMENT TO SCHEDULE A




Part 8 Machinery, equipment, and vehicles

50.    Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

       (See Attached 5/9/2023 Equipment List, 5/10/2023 Misc. Racks Shelves, etc., and
       5/10/2023 Show Exhibit Booth Paraphernalia)
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                                                                                     Page 2
   1    General 20 lb Counting Scale                                     77725              $250.00
   1    Logan Model 2557vh, 12" Lathe                                      n/a            $2,000.00
   1    Clinton 2 ton Punch Press                                     B2CGD5304            $600.00
   1    Lift Coil Furnace                                                  n/a            $3,500.00
   1    4 cyl. Wax Warmer                                                  n/a              $200.00
   1    10 cyl. Wax Warmer                                                 n/a              $100.00
   1    10 Gal., Wax Melting Tank                                          n/a              $250.00
   1    Mod. WP-200-AS-84C, 25 gal. Wax Melting Tank                       n/a              $350.00
   1    Granite Surface Plate 16" x 22" + cabinet                          n/a              $150.00
   1    Burr-King 2" Belt Sander                                           n/a            $1,000.00
   1    Howe Platform Scale                                                n/a              $300.00
   1    big Joe 1500 LB Elec Dielift Truck                              317434            $1,300.00
   1    Electric Furnace                                                   n/a             $480.00
   1    £nerpac-H Frame Hyd Press                                          n/a            $2,500.00
   2    wilton Belt Sanders                                                n/a              $300.00
   1    Liebert Cooler                                                     n/a            $4,500.00
   1    Nortel Phone System                                                n/a              $224.00
   1    Bridgeport Mod. 12/BRJ-42, 1 H.P. Vert Mill                     172248            $4,800.00
   1    Bridgeport Mod. 12/BRJ-42, 1 H.P. Vert Mill                      97210            $4,800.00
   1    Bridgeport Mod. 12/BRJ-42, 1 H.P. Vert Mill                      45392            $4,800.00
   1    Bridgeport Mod. 12/BRJ-42, 1 H.P. Vert Mill                      41768            $2,000.00
   1    Bridgeport 1 H.P. Vert Mill                                     183030            $4,800.00
   1    Bridgeport 1 H.P. Vert Mill                                     175547            $4,800.00
   1    Bridgeport 1 H.P. Vert Mill                                     200840            $4,800.00
   1    Barker Mod. PM Horiz. Hand Mill                                   4547              $500.00
   1    Barker Mod. PM Horiz. Hand Mill                                   2324              $500.00
   1    Kenco 20 Ton Punch Press                                         78015            $1,000.00
   1    Kenco 20 Ton Punch Press                                         78016            $1,000.00
   1    Warner Swasey Mod., WSC6, 6" x 8" Turning Ctr.                 3325014            $7,500.00
   1    1993 Mitsubishi Mod., DWC90HA., CNC Wire EDM Machine           5309L670           $9,000.00
   1    Rockwell Mod., Phase 11Hardness Tester                             550            $1,000.00
   1    Haas SL-20 cnc Turning Center, Mod. SL-20TAPL                    71055           $26,000.00
   1    Polishing Lathe                                                    n/a              $500.00
   1    Polishing Lathe                                                    n/a              $500.00
   1    Granite Surface Plate + cabinet 24" x 36"                          n/a              $700.00
   1    Granite Surface Plate + cabinet 24" x 36"                          n/a              $700.00
   1    LNS Bar Feed (For CNC Lathe)                                       n/a            $1,200.00
   1    IVicKenna Boiler 25HP                                             6874            $2,500.00
   1    Compressor 15 HP Gardner Denver Co.                             258817            $4,000.00
   1    Almco Vibratory Tumbler Mod. OR-10VHE                           108804            $7,000.00
   1    Sweco Vibratory Tumbler Mod., FM-10-5                         10FM-365-3          $3,000.00
   1    Box Vibratory /Tumber Mod-300D (C--M Cleaning Systems)             n/a            $1,200.00
   1    Gof€ Blaster Mod. 2 1/2 BB                                   92251-50-3557        $7,500.00
   1    Goff Dust Collector Mod., 1848-EC                            92181-50-3560        $1,200.00
   1    Cut off Chop Saw 20" Abrasive, 20 H.P.                            n/a             $1,000.00
   1     Universal Blast Cabinet, w/Dust Collector Mod. 36P-DC100        2392             $4,000,00
   1    Regal Power Trot (Coil holder for Punch Press) mod., 750-P      66686                 $500.00
    1   ESAB Mig Welder Migmaster 300 I                               ME-I524126              $600.00
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    1    Drill Press Stand Mod. G-14                                  S/N 0474              $200.00
    1    Hand Tapping Machine                                            n/a                $100.00
    1    Barker Horz Mill, Mod. AM                                       836                $700.00
    1    Die Filer Cabinet                                               n/a                $100.00
    1    Tapping Machine, 2 heads, Mod 500                             358743                $200.00
    1    Ettco Tapping Machine 4 Heads, Mod.                            1007                $400.00
    1    Tumbler 3 barrel                                                n/a                  $75.00
    1    Tumber 2 barrel                                                 n/a                  $50.00
                                                                                    1    $305,679.00
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